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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                         Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


  NOTICE REGARDING TIMING OF DECISION WHETHER TO APPEAL THE
COURT’S NOVEMBER 15, 2022 ORDER OR NOVEMBER 22, 2022 FINAL JUDGMENT
        In Defendants’ opposition to the States’ motion for intervention, Defendants stated that the

government is still in the process of considering whether to appeal this Court’s November 15, 2022

memorandum opinion and order, ECF Nos. 164 & 165, or November 22, 2022, final judgment, ECF

No. 170. See ECF No. 174 at 2, 6, 17; see also 28 C.F.R. § 0.20(b) (requiring the Solicitor General to

authorize appeals by the government). Defendants now respectfully notify the Court that the

government expects to conclude that process by Wednesday, December 7. Defendants will promptly

notify the Court of the Solicitor General’s decision if Plaintiffs’ intervention motion is still pending in

this Court.


 Dated: December 2, 2022                              Respectfully submitted,

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